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                                                                       2009 Oct-30 PM 02:22
                                                                       U.S. DISTRICT COURT
                                                                           N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          WESTERN DIVISION

DORIS W. GRAVLEE,                   ]
                                    ]
     Plaintiff ,                    ]
                                    ]
     vs.                            ] 7:08-CV-02228-LSC
                                    ]
MIDLAND CREDIT                      ]
MANAGEMENT, INC; EQUIFAX            ]
INFORMATION SERVICES, INC.;         ]
EXPERIAN INFORMATION                ]
SOLUTIONS, INC.; and                ]
TRANS UNION, LLC,                   ]
                                    ]
     Defendants.                    ]

                                  ORDER

     The Court has been advised that the above-entitled cause has been

settled. Therefore, this cause is DISMISSED with prejudice. Any party may,

for good cause shown, reopen the action within sixty (60) days from the

date of this Order. Costs are taxed as paid.

     Done this 30th day of October 2009.




                                        L. SCOTT COOGLER
                                   UNITED STATES DISTRICT JUDGE
